                                                                                             FILED
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                                                                                                   6/1/2021
                                                                                        Clerk, U.S. District & Bankruptcy
                             UNITED STATES DISTRICT COURT                               Court for the District of Columbia
                             FOR THE DISTRICT OF COLUMBIA


ANTHONY LEE MCNAIR,                            )
                                               )
               Plaintiff,                      )
                                               )               Civil Action No. 21-204 (UNA)
                                               )
GOVERNMENT OF                                  )
NORTH CAROLINA et al.,                         )
                                               )
               Defendants.                     )


                                   MEMORANDUM OPINION

       This matter, brought pro se, is before the Court on review of plaintiff’s application to

proceed in forma pauperis (“IFP”) and the Complaint against North Carolina and its Department

of Public Safety. Plaintiff is a prisoner in North Carolina. Although he has not fully complied

with this Court’s order to provide the financial statements required by the Prison Litigation

Reform Act, see ECF No. 3, it is not for want of trying. See ECF No. 9 (order recounting

plaintiff’s attempted compliance); ECF No. 10 (plaintiff’s latest attempt). Because the Court

finds subject-matter jurisdiction to be lacking, it will grant the IFP application and dismiss the

case. See Fed. R. Civ. P. 12(h)(3) (requiring the court to dismiss an action “at any time” it

determines that subject-matter jurisdiction is wanting).

       “Federal courts are courts of limited jurisdiction. They possess only that power

authorized by Constitution and statute,” and it is “presumed that a cause lies outside this limited

jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations

omitted). A party seeking relief in the district court must at least plead facts that bring the suit

within the court’s jurisdiction. See Fed. R. Civ. P. 8(a). Failure to plead such facts warrants

dismissal of the action.


                                                   1
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        Sovereign immunity protects a State from suit in federal court, unless immunity is

waived. 1 Plaintiff has not demonstrated North Carolina’s waiver of immunity. See Khadr v.

United States, 529 F.3d 1112, 1115 (D.C. Cir. 2008) (“[T]he party claiming subject matter

jurisdiction . . . has the burden to demonstrate that it exists.”) (citation omitted)). More, plaintiff

suggests that the defendants have “practice[d] slavery,” Compl. at 2, but he has alleged no facts

to consider a claim under the Thirteenth Amendment, which prohibits slavery or involuntary

servitude “except as a punishment” for a convicted person. U.S. Const. amend. XIII.

Consequently, this case will be dismissed. A separate Order accompanies this Memorandum

Opinion.

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                                                        ________________________
                                                        TREVOR N. McFADDEN
                                                        United States District Judge
Date: June 1, 2021




1
    The Eleventh Amendment provides in pertinent part: “[t]he judicial power of the United States
shall not be construed to extend to any suit in law or equity, commenced or prosecuted against one
of the United States by Citizens of another State.” U.S. Const. amend. XI. The amendment applies
equally to suits brought by citizens against their own states. Edelman v. Jordan, 415 U.S. 651,
662-63 (1974); Hans v. Louisiana, 134 U.S. 1, 13-15 (1890).

                                                   2
